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                                   STATEMENT OF FACTS

        Your affiant, Brittany Ausley, is a Special Agent assigned to the Federal Bureau of
Investigation (FBI). Currently, I am tasked with investigating criminal activity in and around the
Capitol grounds on January 6, 2021. As a Special Agent, I am authorized by law or by a
Government agency to engage in or supervise the prevention, detection, investigation, or
prosecution of violations of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

         On January 18, 2021, Witness-1 (W-1) called the FBI National Threat Operations Center
(NTOC) to report that “Jolene Eicher” participated in the Capitol riot in Washington D.C. on
January 6, 2021. W-1 identified Eicher as a former high school classmate and identified Eicher as
the woman standing to the left of the American Flag in the below photograph, wearing a purple
shirt, tan jacket, hair pulled back and necklace. The photo was taken by The Associated Press
Business Insider news affiliate and appears to have been taken inside the Capitol on January 6,
2021. W-1 had been in contact with several other high school classmates who also identified Eicher in the
photo and called FBI NTOC to report her. W-1 stated Eicher worked for a rescue squad in the Farmville,
VA area but heard Eicher lost her job due to her involvement in the Capitol riot on January 6, 2021.




        On March 3, 2021, Witness-2 (W-2) called the FBI National Threat Operations Center
(NTOC) to report Jolene Eicher participated in the Capitol riot. W-2 identified Eicher as the
woman standing to the left of the American Flag, wearing a purple shirt in the same Business
Insider photo above. According to W-2, Eicher was a former Prince Edwards Rescue Squad co-
worker. Eicher resigned from the rescue squad due to an image of her discovered in an article
published by Business Insider of her inside the Capitol on January 6th. According to W-
2, Eicher admitted to being inside the Capitol to Witness 3 (W-3), and did not show any
remorse. According to W-2, Eicher never denied her involvement on January 6th and was proud
of her actions.
        On March 16, 2021, W-3 was interviewed concerning Eicher’s involvement at the
Capitol on January 6, 2021. W-3 reported that Eicher was employed by the Prince Edward,
Virginia Volunteer Rescue Squad for approximately four years. Shortly after the Capitol riot, W-
3 received a phone call from someone, making W-3 aware Eicher went to the Capitol on January
6th. A day or so after W-3’s telephone conversation, W-3 was told about the Business Insider
news article with Eicher's photograph clearly visible in the article. W-3 googled the article and
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found a Yahoo news article with Eicher standing next to an American Flag wearing a purple shirt
and necklace.
        W-3 stated that on January 12, 2021, W-3 talked to Eicher and asked her if that was her
in the photo, and if she was inside the Capitol on January 6th. Eicher replied yes it was her, and
she admitted to being inside the Capitol, having no regrets other than that it involved W-3.
        Eicher’s image was found on numerous different social media live streams taken by
individuals inside and outside of the Capitol on January 6, 2021. One video shows Eicher
entering the Capitol through a broken window climbing down into the main concourse and
walking with the rioters inside the Capitol. Eicher was seen on several videos and images with
others during the Capitol breach and during the riot.
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        The investigation has shown that many of the subjects of this investigation came from
outside of the boundaries of the District of Columbia, as did Eicher, who traveled to D.C. from
Farmville, Virginia. Many subjects coordinated using social media, text messaging, and
messaging applications on their cell phones. Your affiant reviewed records obtained through a
legal process from Facebook, on June 30, 2021 under the account for “Jolene Eicher”
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       The records revealed the following conversation posted on January 6, 2021 between
Eicher and Individual #1:
              Individual #1: Sooo since you were there....I gotta ask lol
              Individual #1: Describe what you saw in 3-5 words.
              Eicher:        What. The. Crap. Woohoo!!!!!!!
              Individual #1: Lol Where are you by now
              Individual #1: You should hear what the news is saying
              Eicher:        Just got back to the car and heading home. Got
                             pepper sprayed!
       Also on January 6, 2021, Individual #2 inquired if Eicher was “in DC?” to which Eicher
responded “Yup! I made it all the way up too! ☺”. She later posted this photograph, depicting
Eicher on the steps of the Capitol building:
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       Another inquiry on Facebook by Individual #1 occurred on January 7, 2021 asking how
close Eicher got to the building. Eicher responded with this image, depicting the inside of the
Capitol by the Senate Wing door near S 139:
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Eicher posted a few minutes later in reply to Individual #1’s response to the above posting:
       I know right?!     I wanted to go see the senate hall but they had already chased
       everyone out from there and about 15 minutes later a ton of officers came poring out
       from that area and slowly pushed back the crowd.
       Later in the day on January 7, 2021, Individual #3 posted to Eicher’s account “I heard
you were close to the action” to which Eicher responded with images appearing to have been
taken by an unknown source outside the Capitol building:




(Agent note: Eicher circled herself in the image sent).




        Records were obtained through legal process served on AT&T for the telephone number
for which Jolene Eicher is the subscribed user. The historical cell site location data contained in
the records showed the following:.
       On January 6, 2021, Jolene Eicher's cellular phone traveled from her residence, in
Farmville, VA, to Washington D.C. from approximately 6:39am- 9:29am along route I-95N.
The AT&T cell site records also showed Eicher's cellular phone near the White House where
then-President Trump gave a speech on January 6, 2021 at approximately 11:30am. The records
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also indicated that Eicher’s cellular telephone was near the White house close to the Ellipse
between 9:29am- 12:26pm, then in or near the U.S. Capitol from 1:16pm - 4:45pm.
        In a review of United States Capitol Police surveillance footage of the riot on January 6,
2021 (CCTV), your affiant observed a white female now identified as Jolene Eicher, dressed in a
tan jacket and purple shirt, entering the U.S. Capitol on January 6, 2021 at approximately 3:22p.m.
EST at the Senate Wing Door near S 139 through a broken window.




       Eicher was seen on CCTV standing in the Senate wing before law enforcement officers
ushered everyone outside at approxamtely 3:31p.m. EST.




       Based on the foregoing, your affiant submits that there is probable cause to believe that
Jolene Eicher violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
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enter or remain in any restricted building or grounds without lawful authority to do; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.


        Your affiant also submits there is also probable cause to believe that Jolene Eicher violated
40 U.S.C. § 5104(e)(2) (D) utter loud, threatening, or abusive language, or engage in disorderly or
disruptive conduct, at any place in the Grounds or in any of the Capitol Buildings with the intent
to impede, disrupt, or disturb the orderly conduct of a session of Congress or either House of
Congress, or the orderly conduct in that building of a hearing before, or any deliberations of, a
committee of Congress or either House of Congress and (G) parade, demonstrate, or picket in any
of the Capitol Buildings.


                                                      __________________________________
                                                      Brittany Ausley
                                                      Special Agent
                                                      Federal Bureau of Investigation

        Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 20th day of Janury 2022.                             G. Michael Harvey
                                                                        2022.01.20
                                                                        17:29:01 -05'00'
                                                      ___________________________________
                                                      HONORABLE G. MICHAEL HARVEY
                                                      UNITED STATES MAGISTRATE JUDGE
